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                                                                                  Gregory S. Milligan, Receiver
                                                                             P.O. Box 90099 Austin, TX 78709‐0099
                                                                                        (512) 892‐0803
                                                  STANDARDIZED FUND ACCOUNTING REPORT for Kevin B. Merrill et. al. ‐ Cash Basis
                                                                        Receivership/ Civil Court Docket No. RDB‐18‐2844
                                                                          Reporting Period 10/01/2023 to 12/31/2023
                                                                                                                                                                        09/13/2018 to
FUND ACCOUNTING:                                                                                                   01/01/2023 to 12/31/2023                              12/31/2023
                                                                                                                   Deville Asset
                                                                                                Receivership    Management and
                                                                                                 Accounts       Riverwalk Holdings      Subtotal        Grand Total      Case Total
Line 1        Beginning Balance:                                                                   9,440,269.69      10,429,440.41                                       1,069,874.04

              Increases in Fund Balance:
Line 2        Business Income                                                                           1,612.06           274,848.51                                    29,460,652.82
Line 3        Cash and Securities                                                                                                                                         8,489,255.17
Line 4        Interest / Dividend Income                                                             162,990.76                                                           1,176,552.16
Line 5        Business Asset Liquidation                                                                                                                                 21,179,396.69
Line 6        Personal Asset Liquidation                                                              31,509.45                                                          25,065,254.83
Line 7        Third‐Party Litigation Income                                                        1,179,868.06                                                          10,349,442.66
Line 8        Miscellaneous ‐ Other                                                                                                                                       4,500,000.00
                Total Funds Available (Lines 1 ‐ 8):                                              10,816,250.02        10,704,288.92    21,520,538.94                   101,290,428.37

              Decreases in Fund Balance:
Line 9      Disbursements to Investors                                                                                                                                   49,816,109.68
Line 10     Disbursements for Receivership Operations
  Line 10 a Disbursements to Receiver or Other Professionals                                         276,670.42                                                           7,370,866.08
  Line 10 b Business Asset Expenses                                                                    3,437.88              1,509.45                                    15,719,233.29
  Line 10 c Personal Asset Expenses                                                                    8,796.06                                                           2,520,594.19
  Line 10 d Investment Expenses                                                                                                                                           4,630,900.00
  Line 10 e Third‐Party Litigation Expenses
               1. Attorney Fees
               2. Litigation Expenses                                                                                                                                         2,600.00
              Total Third‐Party Litigation Expenses                                                                                                ‐                               ‐
  Line 10 f Tax Administrator Fees and Bonds
  Line 10 g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                                        288,904.36              1,509.45     290,413.81                     80,060,303.24
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
  Line 11 a Distribution Plan Development Expenses:
               1. Fees:
                    Fund Administrator
                    Independent Distribution Consultant (IDC)
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                 2. Administrative Expenses
                 3. Miscellaneous
                 Total Plan Development Expenses                                                                                                   ‐                               ‐
 Line 11 b       Distribution Plan Implementation Expenses:
                 1. Fees:
                    Fund Administrator
                    IDC
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                 2. Administrative Expenses
                 3. Investor Identification:
                    Notice / Publishing Approved Plan
                    Claimant Identification
                    Claims Processing
                    Web Site Maintenance / Call Center
               4. Fund Administrator Bond
               5. Miscellaneous
               6. Federal Account for Investor Restitution
               (FAIR) Reporting Expense
               Total Plan Implementation Expenses                                                                                                  ‐                               ‐
            Total Disbursements for Distribution Expenses Paid by the Fund                                                                         ‐                               ‐
Line 12     Disbursements to Court / Other:
  Line 12 a    Investment Expenses / Court Registry Investment
            System (CRIS) Fees
  Line 12 b    Federal Tax Payments
             Total Disbursements to Court / Other                                                                                                ‐
             Total Funds Disbursed (Lines 9 ‐11):                                                    288,904.36             1,509.45      290,413.81                     80,060,303.24
Line 13     Ending Balance (As of 12/31/2023):                                                    10,527,345.66        10,702,779.47                    21,230,125.13    21,230,125.13
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                                                                                Gregory S. Milligan, Receiver
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                                                  STANDARDIZED FUND ACCOUNTING REPORT for Kevin B. Merrill et. al. ‐ Cash Basis
                                                                       Receivership/ Civil Court Docket No. RDB‐18‐2844
                                                                         Reporting Period 10/01/2023 to 12/31/2023
                                                                                                                     Deville Asset
                                                                                               Receivership       Management and                                                Case Total
                                                                                                Accounts          Riverwalk Holdings            Subtotal        Grand Total
Line 14     Ending Balance of Fund ‐ Net Assets:
  Line 14 a    Cash & Cash Equivalents                                                           10,527,345.66            10,702,779.47
  Line 14 b    Investments
  Line 14 c    Other Assets or Uncleared Funds
             Total Ending Balance of Fund ‐ Net Assets                                                                                                          21,230,125.13   21,230,125.13



Other Supplemental Information:

                                                                                                                     Deville Asset
                                                                                               Receivership       Management and
                                                                                                Accounts          Riverwalk Holdings            Subtotal        Grand Total     Case Total
              Report of Items NOT To Be Paid by the Fund:

Line 15     Disbursements for Plan Administration Expenses Not Paid by the Fund:
  Line 15 a    Plan Development Expenses Not Paid by the Fund:
               1. Fees:
                    Fund Administrator
                    IDC
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                2. Administrative Expenses
                3. Miscellaneous
               Total Plan Development Expenses Not Paid by the Fund                                                                                        ‐                              ‐
 Line 15 b      Plan Implementation Expenses Not Paid by the Fund:
                1. Fees:
                    Fund Administrator
                    IDC
                    Distribution Agent
                    Consultants
                    Legal Advisers
                    Tax Advisers
                 2. Administrative Expenses
                 3. Investor Identification:
                    Notice / Publishing Approved Plan
                    Claimant Identification
                    Claims Processing
                    Web Site Maintenance / Call Center
                 4. Fund Administrator Bond
                 5. Miscellaneous
                 6. FAIR Reporting Expenses
               Total Plan Implementationt Expenses Not Paid by the Fund                                                                                    ‐                              ‐
 Line 15 c     Tax Administrator Fees & Bonds Not Paid by the Fund
              Total Disbursements for Plan Administration Expenses Not Paid by the Fund                                                                    ‐                              ‐
Line 16       Disbursements to Court / Other Not Paid by the Fund:
  Line 16 a      Investment Expenses / CRIS Fees
  Line 16 b      Federal Tax Payments
              Total Disbursements to Court / Other Not Paid by the Fund:                                                                                   ‐                              ‐
Line 17       DC & State Tax Payments
Line 18       No. of Claims:
  Line 18 a      # of Claims Received This Reporting Period                                                 ‐                                                             ‐              ‐
  Line 18 b      # of Claims Received Since Inception of Fund                                               ‐                                                             ‐              274
Line 19       No. of Claimants / Investors:
  Line 19 a      # of Claimants / Investors Paid This Reporting Period                                      ‐                                                            ‐               ‐
  Line 19 b      # of Claimants / Investors Paid Since Inception of Fund                                    163                                                          163             163




                                                                                                                  Receiver:
                                                                                                                  By:
                                                                                                                                          (signature)

                                                                                                                                          Gregory S. Milligan
                                                                                                                                          (printed name)

                                                                                                                                          Receiver


                                                                                                                                          January 30, 2024
                                                                                                                  Date:
